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                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:08CR328
                              )
          v.                  )
                              )
OSCAR ARZALUZ-ESQUIVEL,       )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to continue trial (Filing No. 31).         The Court notes defendant has

filed a written waiver of speedy trial (Filing No. 32).

Accordingly,

           IT IS ORDERED that the motion is granted; trial is

rescheduled for:

                 Monday, November 17, 2008, at 9 a.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.         To give the parties time to

pursue plea negotiations and because of the schedule of the

Court, the ends of justice will be served by continuing this case

and outweigh the interests of the public and the defendant in a

speedy trial.    The additional time between October 20, 2008, and

November 17, 2008, shall be deemed excludable time in any
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computation of time under the requirement of the Speedy Trial

Act.   18 U.S.C. § 3161(h)(8)(A) & (B).

           DATED this 17th day of October, 2008.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
